Case 1:23-cv-02376-KAM-SJB Document 34 Filed 08/14/24 Page 1 of 3 PagelD #: 203

‘Chat

Maria Patelis, Esq.

August 14, 2024

Honorable Kiyo A. Matsumoto
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: — Cross Motion in Opposition to Plaintiff’s Motion for Judgment on
the Pleading and requesting if said Motion is granted and opportunity to
file an Amended Answer to the Complaint and Defendants’ Motion for
Judgment on the pleading.

Pollack v. Gordon, et al.

Docket No.: 23-cv-2376 KAM-SJB

Dear Honorable Kiyo A. Matsumoto:

Please be advised that we represent the Defendants’ Jody Louise Gordon
(also known as Jody Gordon) and Fusion Models BK LLC hereinafter
“Defendants.”) in the above-captioned matter. On July 30, 2024, Plaintiff filed a
letter requesting a pre-motion conference prior to moving for judgment on the
pleadings under Rule 12(c) of the Federal Rules of Civil Procedure against
Defendants two asserted counterclaims. Defendants’ are opposing the relief
requested and are requesting a pre-motion conference prior to moving for the
judgment on the pleadings pursuant to Rulel2(c) of the Federal Rules of Civil
procedure against the Plaintiffs moving for judgment on the pleadings of Plaintiff's
Complaint alleging the following seven (7) claims; a) breach of contract b) tortious
interference with contract; c) breach of fiduciary duty; d) inducement of breach of
fiduciary duty; e) violation of New York LLC Law §1103(B) and operating
agreement; f) demand for equitable accounting and g) an award of attorneys’ fees.
and for leave to file Amended Answer with counterclaim.

The law is very clear that a motion for judgment on the pleadings is
governed by the same standard as a motion to dismiss for failure to state a claim,
accepting all factual allegations in the complaint as true and drawing all reasonable
inferences in plaintiffs’ favor Fed. R. Civ. P. 12(b)(6), 12(c). In determining a
motion for judgment on the pleadings under Federal Rule of Civil Procedure, 12(c),
Case 1:23-cv-02376-KAM-SJB Document 34 Filed 08/14/24 Page 2 of 3 PagelD #: 204

“the court may consider any of the pleadings, including the complaint, the answer,
and any written instruments attached to them.” Chambers v. Time Warner, Inc., 282
F.3d 147, 153 (2d Cire, 2002).

A party is entitled to judgment on the pleadings only if it has established
that no material issue of fact remains to be resolved and that [it] is entitled to
judgment as a matter of law.” Gioconda L. Grp. PLLC v. Kenzie, 941 F. Supp. 2d
424, (S.D.N.Y. 2013). Plaintiff fails to state that there is no material issue of fact.
Plaintiff in their Complaint clearly states that the parties entered into an Operating
Agreement dated December 7, 2006. The Plaintiff in support of their claims do
stated under § 49 of the Complaint that Section 5.1.4 of the Operating Agreement
provides that the Managing Members of Fusion have the right to “[uJpon
unanimous approval of the Members borrow funds and issue evidences of
indebtedness on behalf of the Company on either a recourse or nonrecourse basis
and to pledge and hypothecate assets of the Company for such loans; and to prepay
in whole or in part, refinance, revise, increase, modify, or extend any liabilities
affecting the Company assets in connection therewith execute any extensions or
renewals thereof....(emphasis added).” This allegation was stated and used in
support of all seven claims contained in the Complaint. Plaintiff’s Complaint
includes the Operating Agreement and an alleged email alluding to be an Amended
Agreement as Exhibits collectively under CM/ECF No.1.

In support of Plaintiffs instant motion for judgment on the pleadings in
contravention of the Complaint dated August 28, 2023. Plaintiff now alleges that
he is only a “minority stakeholder and member” and not a “managing member” and
does not owe a fiduciary duty to the Defendant majority member. The claims
against the defendants are on the basis that the Plaintiff is a managing member.
Further, the delay in bringing such a motion almost one year later is prejudicial
delay to the Defendant. Plaintiff in his Complaint clearly refers to himself as a
managing member pursuant to the Operating agreement and states that Defendant
Jody Gordon needed his approval with respect to Fusion in borrowing member.
Thus, Plaintiff cannot now state that he was a “minority stakeholder and member”.

There absolutely no basis in law and fact for the relief requested by the
Plaintiff and the cases cited are not on point and irrelevant. The Plaintiff even fails
to state the legal basis as to why the Defendants’ counterclaims should be dismissed
and only changes the facts,

The Defendant is asking in their instant Cross Motion for a Judgment on the
Pleadings is seeking to have the Complaint dismissed in its entirety on the grounds
that Plaintiff’s claims are frivolous, Defendants’ Cross Motion further requests for
leave to amend the filed Answer with Counterclaims. The Plaintiff's claims are
“inextricably intertwined” with claims raised and dismissed in a previous lawsuit,
and Defendants request that they are barred on the doctrines of re judicata and
collateral estoppel, The Plaintiff has clearly failed to state a claim upon which relief
can be granted because there is an Order of Dissolution dated April 30, 2021 of
Case 1:23-cv-02376-KAM-SJB Document 34 Filed 08/14/24 Page 3 of 3 PagelD #: 205

Fusion Modeling Agency, LLC. Defendant herein initiated an action in Kings
County Supreme Court entitled Jodie Godon v. Fusion Modeling Agency, LLC
under Index No.: 500709/2021.

Honorable Reginald A. Boddie issued a detailed Decision and Order on
April 30, 2021_that granted Defendant’s Jodie Gordon petition for dissolution
pursuant to Limited Liability Law § 702. That undermines the Plaintiffs current
position that he is just a minority member that in support of the judicial dissolution
Gordon’s relation with the Plaintiff herein, has become irreconcilable based on Mr.
Pollack’s refusal to consent to overdraft protection, which the bank would not issue
without Mr. Pollack’s consent, or co-sign on a loan pursuant to the Operating
Agreement. The decision also refers to section 5.1.4 of the operating agreement
that unanimous approval of the members is required to obtain a loan on behalf of
FMA and Mr. Pollack refuses to co-sign. The Court should note that the Complaint
alleges the same facts. Fusion Modeling Agency LLC has “suffered financially
during the pandemic, it’s PPP loan has been exhausted, and continued operation
without a loan is financially unfeasible and will drain all of FMA’s financial
resources.” The Court in further support of the finding stated the Jodie Gordon did
establish, that (1) the management of the entity is unable or unwilling to reasonably
permit or promote the stated purpose of the entity to be realized or achieved, or (2)
continuing the entity is financially unfeasible.” The Order is annexed hereto.

Plaintiff’s claims must be dismissed for failure to state a cause of action, res
judicata and collateral estoppel. Plaintiff now stating he was only a minority
member and is entitled to a judgment on the pleadings that the Defendant’s
counterclaims must be dismissed. Plaintiff herein never moved to vacate the Order
of Dissolution or even appeal the decision made in Kings County Supreme Court.
Plaintiff has brought this action previously under the American Arbitration
Association and now United States District Court. Res Judicata and collateral
estoppel are related but distinct doctrines that, under certain circumstances,
preclude a party from litigating certain claims or issues that were or could have
been raised in a prior action. Flaherty v. Lang, 199 F3d 607, 612 (2d Circ. 1999).
Under the doctrine of res judicata, or claim provision, “a final judgment on the
merits of an action precludes the parties or their privies from relitigating issues that
were or could have been raised in that action. Burgos v. Hopkins, 14 F.3d 787 (2d
Cire. 1994),

Defendants are respectfully requesting a pre-motion conference on the
motion to dismiss the Complaint and to deny Plaintiff's request for judgment on the
pleadings and will defer to the Court for scheduling.

cc: David Kasell, Esq.
